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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA
                                                      Criminal No. 1:24-cr-221 (TNM)
                v.

 JEFFREY FORTENBERRY,

                     Defendant.


            CONGRESSMAN FORTENBERRY’S REPLY BRIEF IN FURTHER
                 SUPPORT OF HIS MOTION FOR CONTINUANCE

       The government’s Opposition to Congressman Fortenberry’s Motion for Continuance is

notable not for its substance, but for the extent of its vitriol. Most of it merits no response, and

none of it sheds light on the Congressman’s modest and pragmatic request for a short continuance

of two months. We respectfully submit this Reply Brief, however, to address three issues.

       1.      First, the government suggests that the Congressman’s Motion for Continuance

somehow invites the Court to abandon its role as “an apolitical and independent body responsible

for ensuring the rule of law.” Dkt. No. 60, at 4. Though one would not know it from reading the

government’s Opposition, when defense counsel first spoke with the government about this

Motion, counsel for the government stated that he understood the practicalities of this motion, even

though the government likely would oppose it. It is precisely those practicalities that underlie the

Congressman’s Motion: the reality that a brief continuance would best conserve the Court’s and

the parties’ resources given indications that the incoming administration may revisit the

government’s unprecedented decision to re-indict and retry this matter. Far from somehow

compromising the Court’s independence, the grant of a continuance would best ensure the

executive branch retains the ability to make determinations regarding the proper use of
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prosecutorial resources, while avoiding the very real possibility that the considerable expenditure

of resources by the Court and the parties turns out to have been unnecessary.

       2.      Second, the government suggests that judges of this Court have uniformly denied

motions for continuances premised in part upon the forthcoming change in administration,

claiming that “various judges in this District have rightly denied motions to continue those cases,

even though they are based on more tangible likelihoods of future pardons than what is at play in

this matter,” and citing minute orders in which judges of this Court have denied requests for

continuance. Id. at 4 & n.2. In fact, as Congressman Fortenberry pointed out in his Motion, while

some judges of this Court have denied such requests, others have granted them. Dkt. No. 59, at 4

n.8.1 Thus, while the government dismisses as “speculati[on]” the notion that the incoming

administration will reconsider this prosecution and asserts that such factors cannot provide a basis

for a continuance, Dkt. No. 60, at 4, the fact that judges of this Court have taken these

considerations into account belies those claims.

       3.      Third, the government again disparages the Congressman’s Motion To Obtain

Discovery on Selective Prosecution and Selective Enforcement, Dkt. No. 25, claiming, without

basis, that it consists of “self-generated and threadbare allegations” intended to generate publicity,

and is identical to motions brought in the first trial. Dkt. No. 60, at 3. Neither claim comes close



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        See, e.g., United States v. Lang, No. 21-cr-53, Nov. 19, 2024 Minute Entry (D.D.C)
(granting in part motion to continue citing Trump’s election); Michael Kunzelman, Trump-
Nominated Judge Says Blanket Pardons for Capitol Rioters Would Be ‘Beyond Frustrating,’ AP
News (Nov. 20, 2024), https://tinyurl.com/2h9f6xye (reporting on Lang hearing); see also United
States v. Pope, No. 21-cr-128, ECF No. 373 (D.D.C. Nov. 8 2024) (motion to continue trial date
following President Trump’s electoral victory); id., November 14, 2024 Minute Entry (granting
motion); Spencer S. Hsu, Judge Puts Off Jan. 6 Trial After Defendant Points to Possible Trump
Pardon, Wash. Post. (Nov. 14, 2024), https://tinyurl.com/4waeb47k (discussing Pope and Judge
Nichols’ separate decision to set late trial date for three January 6 defendants in United States v.
Hunt, No. 24-cr-154 (D.D.C.)).


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to being accurate. As a preliminary matter, no identical motion was filed in the first trial when

Congressman Fortenberry was represented by different counsel. This retrial stands out from the

prior trial because of the unprecedented decision to retry a defendant who had received a

probationary sentence and had served most of it. Defense counsel has been challenging the

government for months to identify any precedent for its odd decision, and it simply cannot. The

singling out of Congressman Fortenberry for retrial, the procedural irregularities, and the evidence

of bias make this case unlike anything undersigned counsel has ever seen.              Congressman

Fortenberry will respond substantively to these and the government’s other attacks in his

forthcoming Reply Brief in his Motion To Obtain Discovery.

       For the foregoing reasons, as well as those stated in his opening brief, Congressman

Fortenberry respectfully requests that the Court grant this motion and that it continue this trial for

a period of two months and reset the intervening pretrial schedule.



 Date: December 12, 2024                   Respectfully submitted,

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